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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:21-cv-02907-DDD-NYW

  LANA RUDOLPHI

            Plaintiff,

  v.

  CATHOLIC HEALTH INITIATIVES COLORADO, a Colorado Nonprofit Corporation d/b/a
  Mercy Regional Medical Center,

        Defendants.
  ___________________________________________________________________________

            STIPULATED MOTION TO DISMISS CASE, WITH PREJUDICE
  ____________________________________________________________________________

            THE PARTIES, by and through counsel, hereby submit this Stipulated Motion to Dismiss

  Case, with Prejudice, pursuant to Fed. R. Civ. P. 41 (a)(1)(A)(ii) and, in support thereof, state as

  follows.

            1.      The parties have resolved this case and hereby move the Court for an order

  dismissing this action, with prejudice, each party to bear their own costs and attorney fees, in full.

            2.      The dismissal of this matter is specifically “with prejudice” and is intended to

  operate as a final adjudication of all claims asserted or that could have been asserted in this

  matter.

            3.      Undersigned counsel have discussed dismissal of this matter, with prejudice, with

  their respective clients and they are authorized to enter into this stipulation.

            WHEREFORE, the parties respectfully request that this Court issue an ORDER dismissing

  this action, with prejudice, each party to bear their own costs and fees.
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  Dated July 12, 2022.



  Respectfully submitted,

  s/ David T. Albrechta                    s/ Mark L. Sabey
  David T. Albrechta                       Mark L. Sabey
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                                           Initiatives of Colorado and Centura Health
                                           Corporation




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